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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                      Plaintiff,           )        8:04CR356
                                           )
                      vs.                  )
                                           )        ORDER FOR DISMISSAL
CLARENCE BUTLER,                           )
                                           )
                      Defendant.           )


        This matter is before the Court on the United States’ Motion for Dismissal (Filing No.

102).   The Court, being duly advised in the premises, finds said Motion should be

sustained.

        IT IS ORDERED:

        1.   Leave of Court is granted for the United States to dismiss, without prejudice,

the Indictment filed herein as to the Defendant, Clarence Butler.

        2. The Indictment filed herein is hereby dismissed, without prejudice, as it pertains

to the Defendant, Clarence Butler.

        DATED this 19th day of April, 2005.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    Laurie Smith Camp
                                                    United States District Judge
